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                                                                 September 8, 2023
Via CM/ECF:
Hon. George C. Hanks, Jr.
United States District Judge, SDTX
515 Rusk Street, Room 5300
Houston, TX 77002



                   Re:    Civil Action No. 4:23-cv-02371, Good Sportsman Marketing, LLC
                          v. Chen, et al.

Honorable Judge Hanks, Jr.,
       This firm represents Plaintiff Good Sportsman Marketing, LLC (“GSM”) in the above-
referenced action. I write in response to counsel for Defendants’ letter to the Court requesting a
pre-motion conference (Dkt. 19), dated August 24, 2023. Counsel for Defendants has received a
copy of this communication via the Court’s ECF system.
        Defendants’ letter asserts that it will seek dismissal of GSM’s claims on three bases:
(1) that GSM’s copyright claims improperly expand into the realm of patent law, (2) that GSM
has not sufficiently identified the elements of its trade dress, and (3) that GSM’s state law claims
are preempted by the Copyright Act. Dkt 19, p. 1.
         On the same day that Defendants submitted their letter to the Court requesting permission
to file a motion to dismiss, they filed a Motion for Injunctive Relief, arguing that GSM is
unlikely to succeed on the merits of its case. Dkts. 17, 18. Notably, Defendants seek injunctive
relief from this court on the same, identical three bases on which they will seek dismissal of the
case.1 Compare Dkt. 19 with Dkt. 18 at 3-7. In other words, Defendants’ Motion for
Preliminary Injunction is actually Defendants’ 12(b)(6) motion disguised as a motion for
preliminary injunction and filed prior to the Court holding a pre-motion conference.
      GSM’s response to Defendants’ motion for preliminary injunction will be filed on
September 14, 2023 and will address each of Defendants’ bases for dismissal of the case. As will


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 Defendants’ request for injunctive relief is questionable, given that they have not asserted any
claims against GSM.
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be briefed in GSM’s response, dismissal of this case would be improper, particularly in light of
Defendants’ clear copying of GSM’s trade dress and consumer comments that both products “are
obviously made by the exact same manufacturer.” Dkt. 6, ¶¶ 61-63. Thus, GSM respectfully
requests the Court to hold the pre-motion conference after briefing on the Motion for Preliminary
Injunction is closed.


                                                    Respectfully,




                                                    J. David Cabello
                                                    Cabello Hall Zinda, PLLC
                               CERTIFICATE OF SERVICE
       The undersigned hereby certifies that a true and correct copy of the above document has

been served on September 8, 2023, to all counsel of record who are deemed to have consented to

electronic service via the Court’s CM/ECF system per the Local Rules.

                                                   /s/ John Watkins
                                                  John Watkins
                                                  Paralegal
